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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF RHODE ISLAND

 UNITED STATES OF AMERICA                   :       CR No.    1:21CR121JJM-LDA
                                            :
              v.                            :       In violation of
                                            :       18 U.S.C. ' 2252(a)(4)(B)
 JOHN D. MACINTYRE                          :       (Possession of Child Pornography)
     Defendant                              :

                                     INFORMATION

 The United States Attorney charges that:


                                     COUNT ONE
                           (Possession of Child Pornography)

       Between at least on or about April 23, 2019 and on or about March 17, 2021, in

 the District of Rhode Island and elsewhere, the defendant

                                  JOHN D. MACINTYRE

 did knowingly possess, and access with intent to view, one or more matters which

 contained a visual depiction, that had been shipped and transported using any means

 and facility of interstate and foreign commerce, had been shipped and transported in

 and affecting interstate and foreign commerce, and which was produced using

 materials which had been mailed, shipped, and transported using any means and

 facility of interstate and foreign commerce, including by computer, the production of

 which involved the use of a minor engaging in sexually explicit conduct, and the visual

 depiction was of such conduct.

       All in violation of Title 18, United States Code, Section 2252(a)(4)(B) and (b)(2).


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                             FORFEITURE ALLEGATIONS

       Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to

 defendant JOHN D. MACINTYRE (“MACINTYRE”) that in the event that

 defendant is convicted of the Count in this Information, defendant shall forfeit to

 the United States, pursuant to Title 18, United States Code, Section 2253(a), all

 property, real or personal, used or intended to be used to commit or promote the

 commission of the said offense, all property constituting or traceable to gross

 profits or other proceeds obtained from such offense, and all visual depictions

 described in 18 U.S.C. '' 2251-2252, and any book, magazine, periodical, film,

 videotape, or other matter containing any such visual depiction, which was

 produced, transported, mailed, shipped, or received in committing such offense.

       All in accordance with 18 U.S.C. ' 2253, 21 U.S.C. ' 853, and Rule 32.2(a),

 Federal Rules of Criminal Procedure.

                                                       RICHARD B. MYRUS
                                                       Acting United States Attorney




                                                       RONALD GENDRON
                                                       Assistant U.S. Attorney



 Date: December 1, 2021                                _________________________
                                                       SANDRA HEBERT
                                                       Assistant U.S. Attorney
                                                       Chief, Criminal Division




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